MANDATE
                 Case 21-229, Document 19,
           Case 9:00-cv-01698-LEK-DRH      03/29/2021,
                                        Document       3065633,
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                                                                                               N.D.N.Y.
                                                                                              00-cv-1698
                                                                                                 Kahn, J.

                             United States Court of Appeals
                                                  FOR THE
                                           SECOND CIRCUIT
                                           _________________

                   At a stated term of the United States Court of Appeals for the Second
     Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
     in the City of New York, on the 8th day of March, two thousand twenty-one.

     Present:
                    Pierre N. Leval,
                    Gerard E. Lynch,
                    Joseph F. Bianco,
                           Circuit Judges.

     Detroy Livingston,
                                   Petitioner,

                    v.                                                           21-229
     Victor Herbert,

                                   Respondent.


     Petitioner moves for leave to file a successive 28 U.S.C. § 2254 petition. Upon due consideration,
     it is hereby ORDERED that the motion is DENIED.

     To the extent Petitioner repeats any claim that he raised in his prior § 2254 petition, it must be
     dismissed under 28 U.S.C. § 2244(b)(1) (“A claim presented in a second or successive habeas
     corpus application under section 2254 that was presented in a prior application shall be
     dismissed.”).

     However, even if all of Petitioner’s claims are considered new, he has not made a prima facie
     showing that the requirements of § 2244(b)(2) are satisfied. Specifically, Petitioner has not made
     a showing that his claims are based on “a new rule of constitutional law, made retroactive to cases
     on collateral review by the Supreme Court, that was previously unavailable” or newly discovered
     evidence that, when “viewed in light of the evidence as a whole, would be sufficient to establish
     by clear and convincing evidence that, but for constitutional error, no reasonable factfinder would
     have found [him] guilty of the underlying offense.” 28 U.S.C. § 2244(b)(2)(A)–(B).

                                                  FOR THE COURT:
                                                  Catherine O’Hagan Wolfe, Clerk of Court




MANDATE ISSUED ON 03/29/2021
